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JUDGMENT IN A ClVlL CASE
FLOYD LEE PERRY, JR.,
v.
TENNESSEE DEPARTMENT CASE NUMBERZ 1205-1052-T/An
OF CORRECTlONS,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 5/10/2005, this case is hereby D|SM|SSED, Denying
Certiticate of Appealabi|ity, and it is furthered CERT|F|ED that any appeal in this matter
is not taken in good faith.

APPROVED:

 

 

ROBERT R. Di TR.O}.|O

 

 

cLERK
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DATE ‘ DEPuTY cLERK

This document entered on the docket sheet in compliance

with Ruia 58 andror'rs(a)FRcP on 51 l 3 z QS.

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01052 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

 

Floyd Lee Perry
S.T.S.R.C.F.
302253

Route 4, BOX 600
Pikeville, TN 37367

Honorable J ames Todd
US DISTRICT COURT

